EXHIBIT “B”
      July 16, 2018                                                                     OUR FILE NUMBER:
                                                                                                  1301-2352


       Via U.S. Mail                                       Via U.S. Mail and Electronic Mail
       Mr. Danny L. Ortiz                                  J. Todd Malaise
       Mrs. Cynthia Ann Ortiz                              909 NE Loop 410, Suite 300
       9006 Portside                                       San Antonio, TX 78209
       San Antonio, TX 78242                               Email: notices@malaiselawfirm.com


Re:              Danny L Ortiz and Cynthia Ann Ortiz (hereinafter the “Debtors”); Breach under
                 Stipulation Granting Adequate Protection (“Stipulation”); 9006 Portside
                 San Antonio, TX 78242;(“Property”)

      Dear Mr. Danny L. Ortiz and Mrs. Cynthia Ann Ortiz,

      We represent SRP 2013-7 LLC (“Creditor”). The purpose of this letter is to notify you of a
      default under the terms of the Order executed on June 12, 2018, in connection to Bankruptcy
      Case No.: 15-52317-cag (the “Stipulation”). A copy of the Stipulation is enclosed herewith for
      your reference.

      Pursuant to the terms of the Stipulation, the Debtors were required to file an Amended Plan on or
      before May 23, 2018. As of July 16, 2018 you have failed to file the Amended Plan and are
      therefore in default under the terms of the Stipulation. Pursuant to the terms of the stipulation
      Creditor is entitled to an additional fee in the amount of $75.00 in connection to the preparation
      of this default notice. Therefore, payment in the amount of $75.00 shall be immediately tendered
      to Creditor and the Amended Plan must be prepared and filed.


      As set forth in the Order, this letter shall constitute the 10 day written notice required under the
      terms of the Stipulation. If payment in the amount of $75.00 and the Amended Plan is not filed
      prior to July 26, 2018 we will lodge an order seeking to have the automatic stay lifted.

      If you have any questions, please call the undersigned.

      Best Regards,

      THE LAW OFFICES OF MICHELLE GHIDOTTI

      /s/ Jennifer R. Bergh

      Jennifer R. Bergh, Esq.

                                    1920 Old Tustin Ave. • Santa Ana, CA 92705
                                    Phone: (949) 427-2010 • Fax: (949) 427-2732
                                              www.ghidottilaw.com
J. Todd Malaise
909 NE Loop 410, Suite 300
San Antonio, TX 78209
Email: notices@malaiselawfirm.com

Mr. Danny L. Ortiz
Mrs. Cynthia Ann Ortiz
9006 Portside
San Antonio, TX 78242
Jennifer R. Bergh, Esq. (SBN 24103791)
Kristin A. Zilberstein, Esq. (SBN 24104960)
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Santa Ana, CA 92705
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Fax: (949) 427-2732
jbergh@ghidottilaw.com

Attorney for Movant,
SRP 2013-7 LLC, its Successors and Assigns


                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION


IN RE:                            § CASE NO.: 15-52317-CAG
                                  §
DANNY L. ORTIZ,                   § CHAPTER 13
                                  §
      DEBTORS,                    § CERTIFICATE OF SERVICE
                                  §
SRP 2013-7 LLC,                   §
                                  §
     MOVANT,                      §
                                  §
DANNY L. ORTIZ AND CYNTHIA ANN    §
MARTINEZ (CO DEBTOR NOT IN BK)    §
                                  §
     RESPONDENTS.                 §
                                  §
                     CERTIFICATE OF SERVICE


       I am employed in the County of Orange, State of California. I am over the age of

eighteen and not a party to the within action. My business address is: 1920 Old Tustin Ave.,

Santa Ana, CA 92705.

       I am readily familiar with the business’s practice for collection and processing of

correspondence for mailing with the United States Postal Service; such correspondence would

be deposited with the United States Postal Service the same day of deposit in the ordinary

course of business.
                                               1
                                CERTIFICATE OF SERVICE
On August 1, 2018 I served the following documents described as:

              AFFIDAVIT OF KRISTIN ZILBERSTEIN FOR SRP 2013-7 LLC

on the interested parties in this action by placing a true and correct copy thereof in a sealed

envelope addressed as follows:

(Via United States Mail)
Debtor                                               Chapter 13 Trustee
Danny L. Ortiz                                       Mary K Viegelahn
9006 Portside                                        Chapter 13 Trustee
San Antonio, TX 78242                                10500 Heritage Blvd Suite 201
                                                     San Antonio, TX 78216
Debtor
Cynthia Ann Ortiz                                    Chapter 13 Trustee’s Counsel
9006 Portside                                        Mary K. Viegelahn10
San Antonio, TX 78242                                San Antonio Chapter 13 Trustee
                                                     909 NE Loop 410, Suite 400
Debtors’ Counsel                                     San Antonio, TX 78209
J. Todd Malaise
909 NE Loop 410, Suite 300
San Antonio, TX 78209


_xx___(By First Class Mail) At my business address, I placed such envelope for deposit with
the United States Postal Service by placing them for collection and mailing on that date
following ordinary business practices.

______Via Electronic Mail pursuant to the requirements of the Local Bankruptcy Rules of the
Eastern District of California

__xx_(Federal) I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct.

       Executed on August 1, 2018 at Anaheim, California

/s / Jennifer R. Bergh
Jennifer R. Bergh




                                                 2
                                 CERTIFICATE OF SERVICE
